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                                                   U.S. Trustee Monthly Operating Report

Fill in this information to identify the case:


Debtor Name:                VALLEY GREEN LANDSCAPING, INC                                                               Check if this is an
                                                                                                                         amended filing.
United States Bankruptcy court for:                           District of

Case Number:                18-11216-BFK



Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11

Month:                      Dec-18                           Date Report Filed:    1/25/2019
                                                                                                MM/DD/YYYY
Line of Business:           LANDSCAPE CONTRACTOR             NAISC Code:           561730



IN ACCORDANCE WITH TITLE 2B, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF PERJURY THAT I
HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE ACCOMPANYING ATTACHMENTS
AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.

                DAVID SHEPPARD                                                              1/25/2019
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                            DATE REPORT SIGNED

DAVID SHEPPARD PRESIDENT
PRINTED NAME OF RESPONSIBLE PARTY AND POSITION WITH THE DEBTOR

1. QUESTIONNAIRE:
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

IF YOU ANSWER NO TO ANY QUESITONS IN LINES 1-9, ATTACH AN EXPLANATION
                       AND LABEL IT EXHIBIT A .                                                    YES            NO           N/A
     1        DID THE BUSINESS OPERATE DURING THE ENTIRE REPORTING PERIOD?                          X
     2        DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH?                           X
     3        HAVE YOU PAD ALL OF YOUR BILLS ON TIME                                                 x
     4        DID YOU PAY YOUR EMPLOYEES ON TIME?                                                    X
     5        HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO DEBTOR
              IN POSSESSION (DIP) ACCOUNTS?                                                          X
     6
              HAVE YOU TIMELY FILED YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES?                     X
     7        HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS?                           X
     8        ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENTS TO THE U.S.
              TRUSTEE OR BANKRUPTCY ADMINISTRATOR?                                                   X
     9         HAVE YOU TIMELY PAID ALL OF YOUR INSURANCE PREMIUMS?                    X
          IF YOU ANSWER YES TO ANY OF THE QUESTIONS IN LINES 10-18, ATTACH AN EXPLANATION AND LABEL IT EXHIBIT B .

                                                                                                   YES            NO           N/A
     10       DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?                                       X
     11       HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY?
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   12     HAVE YOU SOLD OR TRANSFERRED ANY ASSETS OR PROVIDED SERVICES TO
          ANYONE RELATED TO THE DIP IN ANY WAY?                                                                      X
   13     DID ANY INSURANCE COMPANY CANCEL YOUR POLICY?                                                               X
   14     DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES?                                            X
   15     HAVE YOU BORROWED MONEY FROM ANYONE OR HAS ANYONE MADE ANY
          PAYMENTS ON YOUR BEHALF?                                                                                   X
   16     HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS?                                                            X
   17     HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?                                   X
   18     HAVE YOU ALLOWED ANY CHECKS TO CLEAR THE BANK THAT WERE ISSUED
          BEFORE YOU FILED BANKRUPTCY?                                                                               X


2. SUMMARY OF CASH ACTIVITY FOR ALL ACCOUNTS

   19     Total opening balance of all accounts                                                                               $151,937.20
          This amount must equal what you reported as cash on hand at the end of the month in the previous month. If
          this is your first report, report the total cash on hand as of the date of the filing of this case.

   20     Total Cash Receipts
          Attach a listing of all cash received for the month and label it Exhibit C . Include all cash
          received even if you have not deposited it at the bank, collections on receivables, credit
          card deposits, cash received from other parties, or loans, gifts, or payments made by
          other parties on your behalf. Do not attach bank statements in lieu of Exhibit C .

          Report the total from Exhibit C here.                                                               $290,106.02

   21     Total Cash Disbursements
          Attach a listing of all payments you made in the month and label it Exhibit D . List the
          date paid, payee, purpose, and amount. Include all cash payments, debit card
          transactions, checks issued even if they have not cleared the bank, outstanding checks
          issued before the bankruptcy was filed that were allowed to clear this month, and
          payments made by other parties on your behalf. Do not attach bank statements in lieu of
          Exhibit D .

          Report the total from Exhibit D here.                                                               $415,668.93

   22     Net Cash Flow                                                                                       ($125,562.91)
          Subtract line 21 from 20 and report the result her. This amount may be different from
          what you may have calculated as net profit.

   23     Cash on hand at the end of the month
          Add line 22 + line 19. Report the result here.                                                                       $26,374.29

          Report this figure as the cash on hand at the beginning of the month on your next operating report.

          This amount may not match your bank account balance because you may have outstanding checks that have
          not cleared the bank or deposits in transit.

3. UNPAID BILLS

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but have
          not paid. Label it Exhibit E . Include the date the debt was incurred, who is owed the money, the purspose of the
          debt, and when the debt is due. Report the total from Exhibit E here.
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   24    Total Payables                                                                                                        $156,967.53

                     (Exhibit E)


4. MONEY OWED TO YOU

         Attach a list of all amounts owed to you by your customers for work you have done or merchandise you have
         sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F. Identify who
         owes you money, how much is owed, and when payment is due. REport the total from Exhibit F here.

   25    Total Receivables                                                                                                      $59,712.97
                     (Exhibit F)

5. EMPLOYEES

   26    What was the number of employees when the case was filed?                                                                4

   27    What is the number of employees as of the date of this report?                                                           12

6. PROFESSIONAL FEES

   28    How much have you paid this month in professional fees related to this bankruptcy case?                                  $454.74

   29    How much in professional fees related to this bankruptcy case since the case was filed?                                 $7,679.46

   30    How much have you paid this month in other professional fees?                                                                 $0.00

   31    How much have you paid in total other professional fees since filing this case?                                         $3,200.00

7. PROJECTIONS


         Compare your actual cash receipts and disburesements to what you projected in the previous month. Projected
         figures in the first month should match those provided at the initial debtor interview, if any.

                                   Column A                               Column B                            Column C
                                           Projected                               Actual                               Difference
                                   Copy lines 35-37 from                  Copy lines 20-22 of this            Subtract Column B from
                                   the previous month's                   report.                             Column A.
                                   report.


   32    Cash Receipts                      $175,000.00           -                  $290,106.02       =                      ($115,106.02)

   33    Cash Disbursements                 $155,000.00           -                  $415,668.93       =                      ($260,668.93)

   34    Net Cash Flow                        $20,000.00          -                ($125,562.91)       =                       $145,562.91


   35    Total projected cash receipts for the next month:                                                                     $165,000.00

   36    Total projected cash disbursements for the next month:                                                                $160,000.00

   37    Total projected net cash flow for the next month:                                                                       $5,000.00
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8. ADDITIONAL INFORMATION

         If available, check the box to the left and attach copies of the following documents.

   38         X                    Bank statements for each open account (redact all but the last 4 digits of the account numbers.

   39         X                    Bank reconciliation reports for each account including list of outstanding checks.

   40                              Financial reports such as an income statement (profit/loss), balance sheet, and cash flow statement.

   41                              Budget, projection, or forecast reports.

   42                              Project, job costing, or work-in-progress reports.

                          RECONCILIATION OF CASH DISBURSEMENTS
CASH DISBURSEMENTS PER FORM 4A-2                                                                                                      86,974.73
CASH DISBURSEMENTS PER SUM OF FORM 4A-3                                                                                              292,199.79
CASH DISBURSEMENTS PER FORM 4D                                                                                                        36,494.41
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DEBTOR:         VALLEY GREEN LANDSCAPING, INC                                 CASE NO:         18-11216-BFK



                  CASH RECEIPTS AND DISBURSEMENTS STATEMENT FORM SB-2
                                      For Period:    12/01/18   to      12/31/18


CASH FLOW SUMMARY                                                       Current
                                                                        Month                Accumulated

1. Beginning Cash Balance                                        $      151,937.20 (1) $             0.00 (1)

2. Cash Receipts
     Operations                                                          290,106.02          1,208,037.76
     Sale of Assets NOTE: See (B) Below:                                       0.00              9,000.00
     Loans/advances                                                            0.00              1,200.00
     Other                                                                     0.00                 16.40

     Total Cash Receipts                                        $       290,106.02       $   1,218,254.16

3. Cash Disbursements
     Operations                                                 $        411,650.43      $   1,160,697.74
     Debt Service/Secured loan payment                                     3,563.76             20,543.60
     Professional fees/U.S. Trustee fees                                     454.74              7,679.46
     Payments made from asset sale: NOTE: See (C) Below.                       0.00              2,959.07
     Other                                                                     0.00                  0.00

     Total Cash Disbursements                                   $       415,668.93       $   1,191,879.87

4. Net Cash Flow (Total Cash Receipts less
     Total Cash Disbursements)                                  $       (125,562.91)     $     26,374.29


5 Ending Cash Balance                                           $         26,374.29 (2) $      26,374.29 (2)



CASH BALANCE SUMMARY See Note (A) below.                                                        Book

  Petty Cash                                                                             $
  DIP Operating Account                                  Operating Accounts              $     20,748.98
  DIP State Tax Account                                                                  $
  DIP Payroll Account                                     Payroll Accounts               $      5,625.31
  Other Operating Account                                                                $
  Other Interest-bearing Account                                                         $

  TOTAL (must agree with Ending Cash Balance above)                                      $     26,374.29 (2)
  Variance between Ending Cash Balance and Ending Book Balances:                                     0.00

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(B) This figure should include the gross amount the seller receives from the sale. On a HUD-1, this would be line 420.
(C) This figure should include all reductions paid by the debtor for the sale of of asset(s). On a HUD-1, this would be line 520.
(1) Accumulated beginning cash balance is the cash available at the commencement of the case.
    Current month beginning cash balance should equal the previous month's ending balance.
(2) All cash balances should be the same.
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DEBTOR:            VALLEY GREEN LANDSCAPING, INC                              CASE NO:               18-11216-BFK


                                                       Form SB-3
                     CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                           FOR THE PERIOD 12/01/2018 to 12/31/2018

CASH RECEIPTS DETAIL                                   Account No:                      8125 8133 8232 8216
(attach additional sheets as necessary)

        Date                    Payer                               Description                       Amount
    12/1/2018              HENSEL PHELPS                        CONTRACT SERVICE                        71,201.00
    12/3/2018                HOMESERVE                       RESTORATION CONTRACT                        2,000.00
    12/5/2018                TRANSURBAN                     MAINTENANCE CONTRACT                           405.00
    12/5/2018                    DLA                         MAINTENANCE CONTRACT                       20,000.00
    12/6/2018           EDGINGTON COURT HOA                  MAINTENANCE CONTRACT                          625.00
    12/8/2018            LANE CONSTRUCTION                      CONTRACT SERVICE                         5,262.95
    12/8/2018              FT BELVOIR DAU                    MAINTENANCE CONTRACT                        7,940.66
    12/10/2018               HOMESERVE                       RESTORATION CONTRACT                        2,000.00
    12/11/2018             ACCIDENT FUND                             REFUND                              2,578.00
    12/19/2018               HOMESERVE                      RESTORATION CONTRACT                         3,000.00
    12/19/2018              TRANSURBAN                       MAINTENANCE CONTRACT                        1,691.70
    12/19/2018           FAM CONSTRUCTION                       CONTRACT SERVICE                         4,799.87
    12/26/2018           LANE CONSTRUCTION                      CONTRACT SERVICE                         4,800.00
    12/26/2018                   DLA                         MAINTENANCE CONTRACT                      149,500.00
    12/28/2018                   DLA                         MAINTENANCE CONTRACT                       14,301.84




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                                                           Total Cash Receipts                   $     290,106.02 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash receipts listed on Form SB-2.
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DEBTOR:            VALLEY GREEN LANDSCAPING, INC                                         18-11216-BFK


                                                Form SB-4
                   CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                  FOR THE PERIOD 12/01/2018 to 12/31/2018



CASH DISBURSEMENTS DETAIL                                        Account No:             8125 OP
(attach additional sheets as necessary)

        Date         Check No.              Payee            Description (Purpose)          Amount
      12/3/2018                              EVO                  BANK FEE                       196.87   x
      12/8/2018                       DAVID SHEPPARD           LOAN PAYMENT                    2,100.00   x
      12/8/2018                              M&T                  BANK FEE                         4.00   x
     12/10/2018                       LOUDOUN WATER               UTILITIES                       46.41   x
     12/11/2018                        FAIRFAX WATER         PROJECT EXPENSE                      95.00   x
     12/17/2018                               BP                     FUEL                        325.00   x
     12/18/2018                      INTERNAL REVENUE        FEDERAL LIABILITY                 5,094.41   x
     12/18/2018                        ACCIDENT FUND             WORK-COMP                     1,189.70   x
     1221/2018                              DMV                 TRUCK PARTS                      288.68   x
     12/21/2018                             DMV                 TRUCK PARTS                      138.08   x
     12/26/2018                     COX COMMUNICATION              OFFICE                        321.38   x
     12/26/2018                    SMALL BUSINESS ADMIN           SBA LOAN                       232.00   x
     12/27/2018                               BP                     FUEL                        325.00   x
     12/31/2018                               BP                     FUEL                        289.23   x
     12/19/2018         3295         LANDSCAPE SUPPLY        PROJECT EXPENSE                     454.74   x
      12/4/2018         3296         LANDSCAPE SUPPLY        PROJECT EXPENSE                   1,225.36   x
      12/1/2018         3297        FORD MOTOR CREDIT               LOAN                       1,148.70   x
      12/1/2018         3298       CATERPILLER FINANCE           EQUIPMENT                       806.47   x
      12/1/2018         3299        ACF ENVIRONMENTAL        PROJECT EXPENSE                   2,279.92   x
      12/1/2018         3300             HANES GEO              JOB MATERIAL                   2,418.60   x
      12/1/2018         3301         HAWKS LAWN CARE          SUBCONTRACTOR                      525.00   x
      12/1/2018         3304              SUNBELT                EQUIPMENT                     4,293.49   x
      12/6/2018         3305      MERRIFIELD GARDEN CTR      PROJECT EXPENSE                     277.46   x
      12/6/2018         3306         LANDSCAPE SUPPLY        PROJECT EXPENSE                     501.38   x
     12/19/2018         3307          SANTOS SAUCEDO             EQUIPMENT                       600.00   x
      12/1/2018         3308          HAMMA DOWN ENT         PROJECT EXPENSE                     470.00   x
      12/5/2018         3309       GREENSOURCE DIRECT        PROJECT EXPENSE                  25,000.00   x
      12/5/2018         3310        MATRIX MANAGEMENT      PROFESSIONAL EXPENSE                  600.00   x
      12/5/2018         3311       CHANTILLY TURF FARM           HOMESERVE                       342.00   x
      12/5/2018         3312               SPRINT                TELEPHONE                       387.15   x
      12/6/2018         3313                   LABCORP            TESTING                         95.50   x
      12/6/2018         3314         REMINGTON MULCH         PROJECT EXPENSE                     392.20   x
      12/6/2018         3315         REMINGTON MULCH         PROJECT EXPENSE                     720.80   x
      12/6/2018         3316          DAVID SHEPPARD              PAYROLL                     11,500.00   x
      12/7/2018         3317           RENEE ROMERO                 COGS                         270.00   x
      12/8/2018         3318         COVENANT HAY CO.        PROJECT EXPENSE                   5,973.51   x
     12/10/2018         3319          MICKLE LAWN SVC         SUBCONTRACTOR                    6,000.00   x
     12/12/2018         3320         MANASSAS TOPSOIL        PROJECT EXPENSE                     609.50   x
     12/12/2018         3321              STONE SHOOTERS     PROJECT EXPENSE                   1,041.25   x
     12/12/2018         3322                  HANES GEO      PROJECT EXPENSE                     587.00   x
     12/13/2018         3323            CHANTILLY TURF FARM      HOMESERVE                       342.00   x
     12/19/2018         3324               DAVID SHEPPARD      LOAN PAYMENT                    2,500.00   x
     12/13/2018         3325                EYE TRUCKING          FREIGHT                        637.50   x
     12/21/2018         3326               DAVID SHEPPARD      LOAN PAYMENT                      380.00   x
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     12/26/2018          3327                 LANDSCAPE SUPPLY            PROJECT EXPENSE               449.44 x
     12/27/2018          3329                  DAVID SHEPPARD              LOAN PAYMENT               3,500.00 X

                                                                     Total Cash Disbursements $     $86,974.73 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1
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DEBTOR:           VALLEY GREEN LANDSCAPING, INC                                                 18-11216-BFK

                                                  Form SB-4
               CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)



CASH DISBURSEMENTS DETAIL                                          Account No:                    8216
(attach additional sheets as necessary)

       Date         Check No.                Payee           Description (Purpose)                 Amount
     12/5/2018        1014                    QMS               Subcontractor                      132,900.00
    12/28/2018        1015                        QMS               COGS                            14,301.84
    12/28/2018        1016                  DLA OPERATIONS          COGS                             1,588.70
    12/24/2018        1017                  DLA OPERATIONS          COGS                             2,880.00
    12/31/2018        1019                   CENTRAL TURF     PLANT MATERIAL                         6,952.25
    12/31/2018        1020                    SCOTT WIBER           COGS                             1,000.00
    12/31/2018        1021                 PRODUCTIVITY PLUS        COGS                            10,000.00
    12/31/2018        1022                        QMS           Subcontractor                      122,577.00

                                                                                            $

                                                                 Total Cash Disbursement $        $292,199.79




(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(1) Total for all accounts should agree with total cash disbursements listed on Form SB-2
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                                                     Form SB-4
                  CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)



CASH DISBURSEMENTS DETAIL                                               Account No:                8133 8216 PR
(attach additional sheets as necessary)

        Date           Check No.               Payee                      Description (Purpose)        Amount
     12/1/2018           4198            SHEPPARD, DAVID B.                   PAYCHECK                   2,313.54
      12/1/2018           4199           SHEPPARD, DAVID B.                   PAYCHECK                   2,313.55
      12/7/2018           4200             ALFARO, JUAN A.                    PAYCHECK                     384.90
      12/7/2018           4201           LINARES, MAURICIO                    PAYCHECK                     394.34
      12/7/2018           4202         ROBINSON, ANTONIO L.                   PAYCHECK                     420.30
      12/7/2018           4203          SHEPPARD, CHERYL L                    PAYCHECK                     613.74
      12/7/2018           4204         SHEPPARD, MATTHEW D                    PAYCHECK                     820.98
      12/7/2018           4205          FREEMAN, DONTAVEIN                    PAYCHECK                     378.43
     12/14/2018           4206             ALFARO, JUAN A.                    PAYCHECK                     483.57
     12/14/2018           4207          FREEMAN, DONTAVEIN                    PAYCHECK                     493.57
     12/14/2018           4208           LINARES, MAURICIO                    PAYCHECK                     551.04
     12/14/2018           4209         ROBINSON, ANTONIO L.                   PAYCHECK                     535.46
     12/14/2018           4210          SHEPPARD, CHERYL L                    PAYCHECK                     613.74
     12/14/2018           4211         SHEPPARD, MATTHEW D                    PAYCHECK                     820.98
     12/14/2018           4212             ALFARO, JUAN A.                    PAYCHECK                     631.27
     12/14/2018           4213          FREEMAN, DONTAVEIN                    PAYCHECK                     567.92
     12/14/2018           4214           LINARES, MAURICIO                    PAYCHECK                     699.74
     12/14/2018           4215         ROBINSON, ANTONIO L.                   PAYCHECK                     513.94
     12/14/2018           4216          SHEPPARD, CHERYL L                    PAYCHECK                     613.75
     12/14/2018           4217         SHEPPARD, MATTHEW D                    PAYCHECK                     972.68
     12/28/2018           4218             ALFARO, JUAN A.                    PAYCHECK                     431.15
     12/28/2018           4219          FREEMAN, DONTAVEIN                    PAYCHECK                     349.64
     12/28/2018           4220           LINARES, MAURICIO                    PAYCHECK                     233.42
     12/28/2018           4221         ROBINSON, ANTONIO L.                   PAYCHECK                     487.40
     12/28/2018           4222          SHEPPARD, CHERYL L                    PAYCHECK                     613.73
     12/28/2018           4223         SHEPPARD, MATTHEW D                    PAYCHECK                     820.99
     12/31/2018           4224           SHEPPARD, DAVID B.                   PAYCHECK                   2,313.55
      12/7/2018          20062          BENSALAH, ABDELHAI                    PAYCHECK                   2,247.08
      12/7/2018          20064         GUERVARA VELASQUEZ                     PAYCHECK                   1,136.39
      12/7/2018          20061          PRICE AMPARA, ALDA                    PAYCHECK                     815.22
      12/7/2018           ACH           CORPORATE PAYROLL                  ADMINISTRATIVE                   54.75
     12/15/2018          20066          PRICE AMPARA, ALDA                    PAYCHECK                     815.22
     12/15/2018          20068 `       GUERVARA VELASQUEZ                     PAYCHECK                   1,307.40
     12/15/2018          20069         GUERVARA VELASQUEZ                     PAYCHECK                   1,243.81
     12/15/2018          20067          BENSALAH, ABDELHAI                    PAYCHECK                   2,247.08
     12/15/2018          20070          TORRES BANEGAS, AR                    PAYCHECK                   1,103.93
      12/7/2018          20063         GUERVARA VELASQUEZ                     PAYCHECK                   1,194.02
      12/7/2018          20065          TORRES BANEGAS, AR                    PAYCHECK                   1,029.25
      12/7/2018            ach             PAYROLL TAXES                                                 2,912.94




                                                                      Total Cash Disbursements$         $36,494.41

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1
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DEBTOR:             VALLEY GREEN LANDSCAPING, Document
                                              INC                               CASE
                                                                             Page     NO:
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                                                              Form SB-5
                                           COMPARATIVE BALANCE SHEET
                                            For Period Ended:                12/31/18
                                                                                                  Current             Petition
ASSETS                                                                                            Month               Date (1)
Current Assets:
  Cash and Cash Equivalents (from Form 2-B, line 5)                                        $       26,374.29     $       (80.00)
  Accounts Receivable (from Form 2-E)                                                              59,712.97          19,414.41
  Receivable from Officers, Employees, Affiliates                                                   5,977.61
  Inventory                                                                                         8,100.00            8,100.00
  Other Current Assets :(List)                                                                                          5,977.61

                                                                                                          0.00          1,393.24
      Total Current Assets                                                                 $      100,164.87     $    34,805.26
Fixed Assets:
  Land                                                                                     $                     $
  Building
  Equipment, Furniture and Fixtures                                                               786,554.22         874,324.11
      Total Fixed Assets                                                                   $      786,554.22    $    874,324.11
  Less: Accumulated Depreciation                                                           (       693,134.99 ) (     772,750.88 )

      Net Fixed Assets                                                                     $       93,419.23     $   101,573.23

  Other Assets (List):                      Truck Sale Loan Due                                    11,790.00                0.00
                                                                                                        0.00 .              0.00

      TOTAL ASSETS                                                                         $      205,374.10     $   136,378.49

LIABILITIES
Post Petition Liabilities:
  Post-petition Accounts Payable (from Form 2-E)                                           $       82,225.26     $          0.00
  Post-petition Accrued Profesional Fees (from Form 2-E)                                                                    0.00
  Post-petition Taxes Payable (from Form 2-E)                                                      28,198.38                0.00
  Post-petition Notes Payable                                                                      16,419.52                0.00
  Other Post-petition Payable(List):                                                                                        0.00


      Total Post Petition Liabilities                                                      $      126,843.16     $          0.00

Pre Petition Liabilities:
  Secured Debt                                                                                     96,886.31         111,078.19
  Priority Debt                                                                                    45,463.45          60,527.69
  Unsecured Debt                                                                                  146,806.78         158,005.85

      Total Pre Petition Liabilities                                                       $      289,156.54     $   329,611.73

      TOTAL LIABILITIES                                                                    $       415,999.70    $    329,611.73

OWNERS' EQUITY
 Owner's/Stockholder's Equity                                                              $       51,540.51     $     63,138.51
 Retained Earnings - Prepetition                                                                        0.00         (256,371.75)
 Retained Earnings - Post-petition                                                               (262,166.11)

      TOTAL OWNERS' EQUITY                                                                 $     (210,625.60)    $   (193,233.24)

      TOTAL LIABILITIES AND OWNERS' EQUITY                                                 $      205,374.10     $   136,378.49

      VARIANCE (ASSETS - LIABILITIES +- CAPITAL) MUST BE $0                                $              0.00   $          0.00
(1) Petition date values are taken from the Debtor's balance sheet as of the petition date or are the values
   listed on the Debtor's schedules.
  NOTE: IF USING EXCEL, EACH LINE MUST CONTAIN A NUMBER.
        Case 18-11216-BFK                Doc 74       Filed 01/25/19 Entered 01/25/19 11:51:18                  Desc Main
                                                     Document     Page 12 of 32

DEBTOR:             VALLEY GREEN LANDSCAPING, INC                                                 CASE NO:   18-11216-BFK

                                                      Form SB-6
                                             PROFIT AND LOSS STATEMENT
                                         For Period          12/01/18 to           12/31/18

                                                                                   Current                   Accumulated
                                                                                   Month                       Total (1)

Gross Operating Revenue                                                      $     200,372.76            $     1,215,366.86
Less: Discounts, Returns and Allowances                                  (               0.00 )          (             0.00 )

       Net Operating Revenue                                             $         200,372.76            $     1,215,366.86

Cost of Goods Sold                                                                 351,627.01                  1,114,720.84

       Gross Profit                                                      $         (151,254.25)          $       100,646.02
       Gross Profit Margin                                                             -75.49%                        8.28%

Operating Expenses
   Officer Compensation                                                  $            9,419.38           $        49,830.77
   Selling, General and Administrative                                                2,301.47                    73,998.90
   Rents and Leases                                                                                                    0.00
   Depreciation, Depletion and Amortization                                            906.00                      4,530.00
   Other (list):     BAD DEBT EXPENSE                                               12,865.40                     13,229.88
                                                                                                                       0.00

   Total Operating Expenses                                              $          25,492.25            $       141,589.55

       Operating Income (Loss)                                           $         (176,746.50)          $       (40,943.53)


Non-Operating Income and Expenses
   Other Non-Operating Expenses                                          $                0.00           $             0.00
   Gains (Losses) on Sale of Assets                                                       0.00                    27,395.91
   Interest Income                                                                        0.00                         0.00
   Interest Expense                                                                       0.00                     2,718.09
   Other Non-Operating Income                                                             0.00                         0.00

   Net Non-Operating Income or (Expenses)                                $                0.00           $        24,677.82

Reorganization Expenses
   Legal and Professional Fees                                           $                0.00           $             0.00
   Other Reorganization Expense                                                           0.00                         0.00

   Total Reorganization Expenses                                         $                0.00           $             0.00

       Net Income (Loss) Before Income Taxes                             $         (176,746.50)          $       (16,265.71)

Federal and State Income Tax Expense (Benefit)                                            0.00                         0.00

       NET INCOME (LOSS)                                                 $         (176,746.50)          $       (16,265.71)


(1) Accumulated Totals include all revenue and expenses since the petition date.
NOTE: IF USING EXCEL, ALL LINES MUST CONTAIN A NUMBER.
           Case 18-11216-BFK               Doc 74      Filed 01/25/19 Entered 01/25/19 11:51:18                         Desc Main
                                                      Document     Page 13 of 32
DEBTOR:         VALLEY GREEN LANDSCAPING, INC                                           CASE NO:               18-11216-BFK


                                                    Form SB-7
                                            DISBURSEMENT SUMMARY
                                     For the Month Ended: 12/31/2018 0:00                                  #




   Total Disbursements from Operating Account (Note 1)                                  $                          379,174.52


   Total Disbursements from Payroll Account (Note 2)                                    $                           36,494.41

   Total Disbursements from Tax Escrow Account (Note 3)                                 $                                    0.00

   Total Disbursements from and other Account (Note 4)                                  $                                    0.00


   Grand Total disbursements from all accounts                                          $                          415,668.93



   NOTE 1 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the general
   operating account. Exclude only transfers to the debtor in possession payroll account, the debtor in possession tax escrow
   account or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 2 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the payroll
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession tax escrow account
   or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 3 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the tax escrow
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession payroll account or
   other debtor in possession account where the disbursements will be listed on this report.

   NOTE 4 - Include in this amount any other disbursements made by the debtor including (but not limited to) cash paid from a
   petty cash fund or cash register, amounts paid from any other debtor in possession account, and amounts paid from the
   accounts of others on the debtors behalf (for example, disbursements made from a law firm's escrow account as a result of
   a sale of property.)


                                                     FEE SCHEDULE

In accordance with the Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, the following website link will take you to
schedules which will apply for the calendar quarters beginning January 1, 2018 through September 30, 2018.

                                       www.justice.gov/ust/chapter-11-quarterly-fees



Interest will be assessed on Chapter 11 quarterly fees not paid by the end of the month following the end of the calander quarter
pursuant to 31 U.S.C. Sec. 3717. The interest rate assessed is the rate in effect as determined by the Treasury Department at the
time the account becomes past due.

Failure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)]
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VALLEY GREEN LANDSCAPING, INC
EXHIBIT B       AS OF 12/31/2018




17. Q. Have you paid any bills you owed before
bankruptcy?
      A. Yes, SBA $232.00 monthly
                    Case 18-11216-BFK             Doc 74    Filed 01/25/19 Entered 01/25/19 11:51:18
                                                                                         Checking     Desc Statement
                                                                                                   Account Main
                                                           Document     Page 15 of 32


     FOR INQUIRIES    CALL:     FALLS CHURCH                                                                     ACCOUNT TYPE
                                (703) 536-2644

                                                                00   0 01377M NM 017
                                                                                             ACCOUNT NUMBER                    STATEMENT PERIOD
                                                                                                         x232                   12101t18 - 12t31t18
                000001432 FrDS1548D01712311812 11 000000
                                                                                          BEGINNING BALANCE                             $143,151.43
                               VALLEY GREEN LAINDSCAPING INC
ffiEfi                         DEBTOB IN POSSES}SION #18.1 1216-BFK                       DEPOSITS & CREDITS                             154,831.84
                                                                                          LESS CHECKS & DEBITS                           151,670.54
                               DAVID B SHEPPABD, TRUSTEE
                                                                                          LESS SERVICE GHARGES                                   0.00
                               OPEBATING DLA
                               5833 LEWIS LN                                              ENQING     Efl"rnuce                          $146,312.73
                               FALLS CHURCH VA22041




                                                                ACCOUNT ACTIVITY
      POSTING                                                                 DEPOSITS & OTHER          WITHDRAWALS &                    DAILY
                                      TRANSACTION DESCRIPTION
       DATE                                                                      CREDITS {+}            OTHER DEBITS (-I              BALANCE
      1210112018     BEGINNING BALANCE                                                                                                  $143,151 .43
      1210512018     CHECKNUMBER           1014                                                              $132,900.00                   10,251 .43
      1212412018     CHECK   NUMBER        1017                                                                    2,880.00                 7,371.43
      1212712018     CHECK   NUMBER        1015                                                                   14,301 .84               (6,930,41)
      1212812018     REVERSE CHECK PAID                                                $14,301 .84
o     12128t2018     ln Branch Transfer/Deposit                                        140,530.00
      't2t2812018    CHECK   NUMBER        1016                                                                    1,588.70               146,312.73
N                    NUMBER OF DEPOSITS/CHECKS} PAID                                            2                        3


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o
o                      EFFECTIVE MARCH 1, 2019, WIRE OUTGOING AUTO FX NON-REPETITIVE PER ITEM WILL BE
o                      CHANGED TO $26.00. IF YOU I-IAVE ANY QUESTIONS REGARDING THIS PRICE CHANGE, PLEASE
o
                       CONTACT YOUR RELATIONSHIP MANAGER OR THE COMMERCIAL SERVICE TEAM AT
o                      1.800-7 24-2240, MONDAY.FRIDAY, 8AM-6PM ET.
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                                                       GTR WASHINGTON COMMERCIAL BANK
                                                   1 RESEARCH CT SUITE 4OO ROCKVILLE MD 20850
          Case 18-11216-BFK         Doc 74    Filed 01/25/19 Entered 01/25/19 11:51:18                 Desc Main
                                             Document     Page 16 of 32
'11:37 AM                                     Valley Green Landscaping
01/08/1   I                                  Reconciliation Summary
                                     10050 . DLA Operation, Period Ending 1213112018

                                                                               Dec 31,18
                   Beginning Balance                                                           143,151.43
                        Cleared Transactions
                           Checks and Payments - 4 items                -151,670.54
                           Deposits and Credits - 2 items                154,831.84

                        Total Cleared Transactions                                3,1 61 .30

                   Cleared Balance                                                             146,312.73

                        Uncleared Transactions
                          Checks and Payments - 4 items                 -140,529.25

                        Total Uncle;rred Transactions                          -140,529.25

                   Register Balance as ot 1213112018                                             5,783.48

                   Ending Balance                                                                5,783.48




                                                                                                                   Page   1
       Case 18-11216-BFK                    Doc 74       Filed 01/25/19 Entered 01/25/19 11:51:18                       Desc Main
                                                        Document
11:37 AM                                                 Valley GreenPage 17 of 32
                                                                       Landscaping
01/08/1 9                                                   Reconciliation Detail
                                              10050 . DLA Operation, Period Ending 1213112018

                      Type                Date          Num             Name               Clr   Amount                 Balance
            Beginning Balance                                                                                              143,151.43
                 Cleared Transactions
                    Checks and Paymen*; - 4 items
            Check                    1210512018      1014      QMS                         X      -132,900.00             -132,900 00
            Check                    1212412018      1017                                  x         -2,880,00            -135,780.00
            Check                    12t28t2018      1015                                  X       -14,301,84             -150,081 .84
            Check                    12t28t2018      1 016                                 X         -1,588,70            -151 ,670.54

                       Total Checks and Paynrents                                                 -151 ,670.54            -151 ,670.54

                       Deposits and Credits - 2 items
            Deposit                  12t26t2016                                                     14,301 .84              14,301 .44
            Check                    12128t2018                DLA - QMS                           140,530.00              154,83'1.84

                       Total Deposits and Credits                                                  154,831 .64             154,831 .84

                    Total Cleared Transactionrs                                                       3,16"t .30             3,I 61 .30

            Cleared Balance                                                                           3,1 6   1   .30      146,312.73

                    Uncleared Transactions
                      Checks and Paymentr; - 4 items
            Check                    12t31t2018      1022      QMS                                -122,577.00             -122,577.00
            Check                    12t31t2018      1021      Productivity Plus                   -10,000.00             -132,s77.00
            Check                    12t31t2018      1019      Central Turf & lrrigat...             -6,952.25            -139,529.25
            Check                    12t31t2018      1020      Scott Wiber                           -1,000.00            -140,529.25

                       Total Checks and Paynrents                                                 -140,529.25             -140,529.25

                    Total Uncleared Transactirrns                                                  -140,529.25            -140,529.25

            Register Balance as of 1213112018                                                      -137,367.95               5,783.48

            Ending Balance                                                                         -137,367.95               5,783.48




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                   Case 18-11216-BFK              Doc 74          Filed 01/25/19 Entered 01/25/19 11:51:18                       Desc Main
                                                                 Document     Page 18 of 32

     FOR INOUIRIES     CALL:    FALLS CHURCH                                                                       ACCOUNT TYPE
                                (703) 536-2644
                                                                                                          M&T SIMPLE CHECKING FOR BUSINESS
                                                                       00   001377MNM 017
                                                                                                   ACCOUNT NUMBER                 STATEMENT PERIOD

                   ooo0o1431 F|DS1548D017   ilgtlftZ   11   o000oo             P
                                                                                                          tDezto                   12t01t18 - 12131t18

If,}?}E
lfiH.r,ft
ttt:t!J*                        VALLEY GREEN LANDSCAPING INC                                    BEGINNING BALANCE                            $2.643.07
EET                             DEBT9B IN PossESSloN #18-11216.8FK                              DEPOSITS & CREDITS                           20,000.00
                                                                                                LESS CHECKS & DEBITS                         20,122.25
                                DAVID B SHEPPAHD, TRUSTEE
                                                                                                LESS SERVICE CHAPGES                                    0.00
                                PAYROLL DLA
                                5833 LEWIS LN                                                                                                $2,s20.82
                                FALLS CHURCH VA22O41




                                                                       ACCOUNT ACTIVITY
        I'OSTING                                                                      DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
            DATE
                                     TRANSACTION DESCRIPTION
                                                                                         CREDITS (+)          OTHER DEBITS (-)           BALANCE
       12101t2018     BEGINNING BALANCE                                                                                                       $2,643.07
       1210412018     CHECK   NIJMBER    20057                                                                        $919.30                  1,723.77
       12105t2018     DEPOSIT                                                                $20,000.00                                       21 ,723.77
       1210612018     CORP PAYROLL SVC ER DIR DEP VGLAND                                                              6,421 .97               15,301 .80
       1210712018     CORP PAYROLL SVC PAYRLL FEE VGLAND                                                                 54.75
       1210712018     CORP PAYROLL SVC PAYRLL TAX VGLAND                                                              2,912.94                12,334.11
       1212012018     CORP PAYROLL SVC ER DIR DEP VGLAND                                                              6,717.44                 5,616.67
       12!21t2A18     CORP PAYFIOL I SVC PAYRI I trFF VGI ANT)                                                           54.75
       1212112018     CORP PAYROLL SVC PAYRLL TAX VGLAND                                                              3,041 .10                2,520.82
o                     NUMBER OF DEPOSITS/CHECKS PAID                                                 1
                                                                                                                            'I
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o                       EFFECTIVE MARCH 1, 2019, WIRE OUTGOING AUTO FX NON.REPETITIVE PER ITEM WILL BE
o                       CHANGED TO $26.00. IF YOU HAVE ANY OUESTIONS REGARDING THIS PRICE CHANGE, PLEASE
c                       CONTACT YOUR RELATIONSHIP MANAGER OR THE COMMERCIAL SERVICE TEAM AT
                        1.BOO.7 24.2240, MONDAY-FR IDAY, 8AM-6PM ET.

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                                                                                                                                     PAGE 1 OF      1

                                                                GTR WASHINGTON COMMERCIAL BANK
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10:02 AM                                    Valley Green Landscaping
01t25t'.ls                                 Reconciliation Summary
                                    10060 . DLA Payroll, Period Ending 1213112018

                                                                               Dec 31,18
                 Beginning Balance                                                            2,643.07
                      Cleared Transactions
                         Checks and Payments - 15 items                   -20,122.25
                         Deposits and Credits - 1 item                     20,000.00

                      Total Cleared Transactions                                    -122.25

                 Cleared Balance

                 Register Balance as ol 1213112018                                            2,520.82

                 Ending Balance                                                               2,520.82




                                                                                                               Page   1
      Case 18-11216-BFK                  Doc 74      Filed 01/25/19 Entered 01/25/19 11:51:18                     Desc Main
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10:02 AM                                             Valley Green Landscaping
01125t19                                               Reconciliation Detail
                                               10060 . DLA Payroll, Period Ending 1213112018

                  TYPe                               Num                                  Amount                  Balance
           Beginning Balance                                                                                           2,643.07
                Cleared Transactions
                   Checks and Payments - 15 items
           YTD Adjustment          1112312018 020057         Douieb. Houria           X            -919.30               -919.30
           Liability Adjust       12t07t2018                                          X         -2,912.94              -3,832.24
           YTD Adjustment         12t07 t2018       020062   Bensalah,Abdelhai        X         -2,247.09             -6,079.33
           YTD Adjustment         12t07 t2018       020063   GuevaraVelasquez,...     x         -1,194.02             -7,273.35
           YTD Adjustment         12107 t2018                Guevara Velasquez,...    X         -1 ,136.39             -8,409.74
           YTD Adjustment         12t0712018        020065   Torres Banegas, Ar...    X         -1,029.25             -9,438.99
           YTD Adjustment          12t07t2018                Price Amparo, Aldan...   X            -815.22           -10,254.21
           Check                   12t07t2018                Corporate Payroll S...   X             -54.75           -10,308.96
           YTD Adjustment          12115t2018                Bensalah, Abdelhai       X         -2,247.08            -12,556.04
           YTD Adjustment          12t15t2018                Guevara Velasquez,...    X         -1,307.40            -13,863.44
           YTD Adjustment          12t15t2018                Guevara Velasquez,...    X         -1 ,243.81           -15,107.25
           YTD Adjustment          1211512018                Torres Banegas, Ar...    X         -1 ,1 03.93          -16,211.18
           YTD Adjustment          12t15t2018                Price Amparo, Aldan...   x           -815,22            -17,026.40
           Liability Adjust        12t21t2018                                         X         -3,041   ,1   0      -20,067.50
           Check                   12t21t2018                Corporate Payroll S...   x            -54.75            -20,122.25

                    Total Checks and Paynrents                                                 -20,122.25            -20,122.25

                    Deposits and Credits - 1 item
           Deposit                 1210512018                                                  20,000.00              20,000.00

                    Total Deposits and Credits                                                 20,000.00              20,000.00

                 Total Cleared Transactionr;                                                      -122.25               -122.25

           Cleared Balance                                                                        -122.25              2,520.82

           Register Balance as of 1213112018                                                      -122.25              2,520.82

           Ending Balance                                                                         -122.25              2,520.82




                                                                                                                                   Page   1
               Case 18-11216-BFK                 Doc 74          Filed 01/25/19 Entered 01/25/19 11:51:18                                    Desc Main
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   FOR INOUIRIES    CALL:    FALLS CHURCH                                                                                 ACCOUNT TYPE
                             (703) 536-2644
                                                                                                              M&ffi
                                                                           00   0 01377M NM 017
                                                                                                       ACCOUNT NUMtsER                       STATEMENT PERIOD
                                                                                                                 _)8125                        12101118 - 12t31118
               000001429 FrDS1548D017 12311812     1,1 000000

                             VALLEY GREEN LANDSCAPING INC                                           BEGINNING BALANCE                                   $71,986.15
ffiffi                       DEBTOR IN POSSIESSION #18-1 1216-8FK                                   DEPOSITS & CREDITS                                  174,540.23
                             DAVID B SHEPPAIID, TBUSTEE                                             LESS CHECKS & DEBITS                                228,351.61
                             OPERATING ACCOUNT                                                      LESS SERVICE CHAHGES                                       4.00
                             PO BOX 1003                                                            Ellp"rllg.FAuFtf-c.E . r:                           $18,170.77
                             FALLS CHURCH VA2204')




                                                                           ACCOUNT ACTIVITY
     POSTING                                                                             DEPOSITS & OTHER        WITHDRAWALS &                        DAILY
      DATE
                                   TRANSACTIOII DESCRIPTION
                                                                                            CREDITS {+}          OTHER DEBITS (.I                    BALANCE
    12lO'U2018     BEGINNING BALANCE                                                                                                                    $71 ,986.1s
    12lO3l2A1B     BKCD PROCESSING SETTLEMENT             137OO.I OO1 1 19602                     $2,000.00
    1210312018     PWCSA   UTILITY           243O37A                                                                               $72.98
    121O3t2018     BKCD PROCESSING SETTLEMENT             137OO1OO1 1 19602                                                        196.87
    1210312018     COXCOMM NVABANKDRAFT 477050201901001                                                                            291 ,73
    1AO3t201B      BP CC BP EPAY             1738469283                                                                            325.00                73,099.57
    1210512018     TRANSURBAN (USA) 31 1     1    C02596                                            405,00
    12l0sl201B     CHECK   NUMBER      3299                                                                                    2,279.92
    12t0s12018     CHECK   NUMBEB      33OB                                                                                        470.00                70,754.65
    12106t2018     DEPOSIT                                                                          625.00
    12106t2018     CHECK   NUMBER      3296                                                                                    1,225.36
    '1210612018    CHECK   NUMBER      331   1
                                                                                                                                   342.00
    1210612018     CHECK   NUMBER      3316                                                                                1   1,500.00                  58,312.29
    1AO7DO1B       lD TREAS 310 MISC   PAY       s4148402.1970088                                  7,940.66
    '1210712018    CHECK NUMBER        33OO                                                                                    2,418.60
    12to7t2018     CHECK NUMBER        3301                                                                                        525.00
    1210712018     CHECK NUMBER        3304                                                                                    4,293.49
    1210712018     CHECK NUMBER        3305                                                                                        277.46
    1210712018     CHECKNUMBER         3317                                                                                        270.00                58,468.40
    12110t2018     I]KCD PROCESSING SETTLEM               13700100.1   1   19602                   2,000.00
                                                   =NT
    1211012018     CHASE CREDIT CRD    EPAY        3876328834                                                                  2,100.00
    1211012018     CHECK   NUMBER      3314                                                                                        392.20
    12t'tot20't8   CHECKNUMBER         3319                                                                                    6,000.00
    12110t2018     SERVICE CHARGE FOR ACCOTJNT OOOOO985286S125                                                                        4.00               51 ,572.20
    121111201B     I-OUDOUNWATER     LOUDOUN           000200069834                                                                 46.41
    12t11t2018     FCWA PAYMENT                                                                                                     95.00
    '12t11t2018    CHECKNUMBER         3297                                                                                    1   ,148.70
    12t11t2018     CHECK   NUMBER      3298                                                                                         806.47
    1211112018     CHECK   NUMBER      3309                                                                                25,000.00                     24,875.62
    1211212A18     DEPOSIT                                                                         2,578,00
    12112t2018     CHECKNUMBER 3294                                                                                                545.90
    121121201B     CHECK   NUMBER      3306                                                                                        501.38
    121121201A     CHECK   NUMBER      3310                                                                                        600.00
    1211212018     CHECKNUMBER 3312                                                                                                387.'ls
    12t12t2018     CHECK   NUMBER      3315                                                                                        720,80                24,698.39



                                                                                                                                                 PAGE 1 OF 2
                                                           GTR WASHINGTON COMMERCIAL BANK
                                                       1 RESEARCH CT SUITE 4OO ROCKVILLE MD 20850
                  Case 18-11216-BFK                     Doc 74         Filed 01/25/19 Entered 01/25/19 11:51:18
                                                                                                    Checking     Desc Statement
                                                                                                              Account Main
                                                                      Document     Page 22 of 32


    FICR INOUIRIES    CALL:      FALLS CHURCH                                                                                       TYPE
                                 (703) 536-2644
                                                                                                          M&T SIMPLE CHECKING FOR BUSINESS




                                VALLEY GBEEN LAI\DSCAPING INC
ffiH                            DEBTOB IN POSSESiSION #18-1 1 21 6-BFK




                                                                          ACCOUNT ACTIVITY
      POSTING                                                                          DEPOSITS & OTHER       WITHDRAWALS &                    DAILY
                                      TRANSACTION ]DESCRIPTION
       DATE                                                                               CREDITS l+l         OTHER DEBITS (-)                BALANCE
     12t1712018      BP CC BP    EPAY          1751422727                                                              325,00
     12117t2018    CI]ECK  NUMBER          3322                                                                        587.00
     1211712018    C}.IECK NUMBER          3323                                                                        342.OO                    23,444.39
     12118t2018      IRS   USATAXPYMT             27087!;255171184                                                    5,094.41
     1211812018    CIIECK     NUMBER       3321                                                                       1,O41   .2s                17,308.73
     1211912018    TFIANSURBAN (USA)       4341        OOi\TO                                   1,691.70
     1211912018    ACCIDENT FUND ONLINE           PAY       1386388                                                   1,189.70
     12119t2018      CIIECK   NUMBER       3324                                                                       2,500.o0                   15,31O.73
     1212012018      DEPOSIT                                                                    4,799.87
     1212012018      BKCD PROCESSING SETTLEMEI\IT              137OO1OO1 1 19602                3,000.00
     1212012018      CI]FCK   NUMBER       3326                                                                        380.O0
     1212012018      CI]ECK   NUMBER       3295                                                                         454.74
     1212012018      CI]ECK   NUMBER       3320                                                                        609.50                    21 ,666.36
     1212112018      VIRGINIA DMV ECK VEHICLE           5,11484021                                                      138.08
     12121t2018      VIRGINIA DMV ECK VEHICLE           5,11484021                                                     288.68
     12/2112018      CIlECK   NUMBER       3325                                                                        637.50                    20,602.10
     1212612018      TFIEAS 3.IO MISC   PAY       3QVLIBgTOOBOsO                              149,500.00
     1212612018      CI]ECK   NUMBER       3307                                                                        600.00
d    1212612018      CI]ECK   NUMBER       3318                                                                       5,973.51                  163,528.59
     12t27t2018      SE}A LOAN   PAYMENT              OOOO                                                              232.OO
     1212712018      CI]ECK   NUMBER       3329                                                                       3,500.00                  159,796.59
     1212812018      ln Branch TransferAlVithdrawal                                                                 140,530.00
     12128t2018      COX COMM NVA BANK        DRAFT          477050201901001                                           321.38                    '18,945.21
     1213112018      BP CC BP EPAY             1760786417                                                              325.00
     121s112018      CHECKNUMBER           3327                                                                         449.44                   18,170.77
                     NUMBER OF DEPOSITS/CHECKS PAID                                                  10                       32


                       EFFECTIVE MARCH 1, 2019, WIRE OUTGOING AUTO FX NON.REPETITIVE PER ITEM WILL BE
                       CHANGED TO $26.00. IF YOU I-IAVE ANY QUESTIONS REGARDING THIS PRICE CHANGE, PLEASE
                       CONTACT YOUR RELATIONSHIP MANAGER OR THE COMMERCIAL SERVICE TEAM AT
                       1.8OO-7 24.2240, MONDAY.FR DAY, 8AM-6PM ET.
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                                                                                                                                           PAGE 2 OF 2
                                                                 GTR WASHINGTON COMMERCIAL BANK
                                                             1 HESEARCH CT SUITE 4OO ROCKVILLE MD 20850
      Case 18-11216-BFK                     Doc 74           Filed 01/25/19 Entered 01/25/19 11:51:18                            Desc Main
                                                            Document     Page 23 of 32
11:3'l AM                                                    Valley Green Landscaping
01/09/1 9                                                         Reconciliation Detail
                                               {0030 . M&T Operating, period Ending 12t31t201g

                       Type                Date              Num               Name                     Clr   Amount              Balance
            Beginning Balance
                 Cleared Transactions                                                                                                 72,411 .15
                    Checks and paymentr;          _   50 items
            Check                  11t29t2018                         BP                                X             -325.00
            Check                  11t29t2018                                                                                            -325.00
                                                                      Cox Communications                x             -291.73
            Check                  11t29t2018                                                                                            -6'16.73
                                                                      Service Authority                 X               _72.98
            Check                  11t30t2018              3294       Landscape Supply lnc              x
                                                                                                                                         -689.71
                                                                                                                      -545.90
            Bill Pmt   -Check      12t01t2018              3304       Sunbelt                           X          -4,293.49
                                                                                                                                      -1 ,235.61
            Bill Pmt   -Check      12t01t2018              3300       Hanes Geo                         X          -2,418.60
                                                                                                                                        -5,529.10
            Bill Pmt   -Check      12/01t20.18             3299       ACF Enviromental                  x
                                                                                                                                        -7,947.70
                                                                                                                   -2,279.92           -10,227.62
            Check                  12t01t20.t8             3297       Ford Motor Credit C...            X          -1 ,148.70
            Check                  12t01t20.t8             3298       Caterpillar Financial   ...       X
                                                                                                                                      -11,376.32
                                                                                                                      -806.47
            Bill Pmt   -Check      12t01t2018              3301       Hawks Lawn Care L...              X             -525.00
                                                                                                                                      -12,182.79
            0heck                  12t01t2018              33oB       Hamma Down Enter...               X             _470.00
                                                                                                                                      -12,707.79
          Check                    12to3t20,8                                                                                         -13,177.79
                                                                      EvO                               X             -196.87
          Check                    12t04t2018             3296        Landscape Supply lnc              X          -1 ,225.36
                                                                                                                                      -13,374.66
          Bill Pmt -Check          12t05t2018             3309        GreenSource Direct,...            x        -25,000.00
                                                                                                                                     -14,600.02
          Bill Pmt -Check          12t0512018                                                                                        -39,600.02
                                                          3310        Matrix Managment ...              x
          Check                    12t05t2018                                                                        -600.00         -40,200.02
                                                          3312        Sprint                            X            -387.1 5        -40,587.17
         Check                     12t0512018             3311        Chantilly Turf Farm               x            -342.00
         Check                     12t06t2018             3316        David Sheppard                X            -11,500.00
                                                                                                                                     -40,929.17
         Elill Pmt -Check          12t06t2018             3315        Remington Mulch - ...         x                -720.80
                                                                                                                                     -52,429.17
         Check                     12t06t2018             3306        Landscape Supply lnc          x                -501.38
                                                                                                                                     -53, 149.97
         Bill Pmt -Check           12t06t2018             3314        Remington Mulch               X               -392.20
                                                                                                                                     -53,651.35
         Check                     12t06t2018             3305        Merrifield Garden C...        X               -277.46
                                                                                                                                    -54,043.55
         Check                     12t07   t2018          3317        Renee Romero                  x               -270.00
                                                                                                                                    -54,321.01
         Bill Pmt -Check          12t08t2018              3318        Covenant Hay Co.              x             -5,973.51
                                                                                                                                    -54,591.01
         Check                    12t08t2018                                                                                        -60,564.52
                                                                      David Sheppard                x             -2,100.00
         Check                    12t08t2018                                                                                        -62,664.52
                                                                                                    X                  -4.00
         Bill Pmt -Check          12t10t2018              3319       Mickle Lawn Service            X             -6,000.00
                                                                                                                                    -62,668.52
         Check                    12t10t2018                                                                                        -68,668.52
                                                                     Loudoun Water                  X                 -46.41
         Check                    12t11t2013                                                                                        -68,714.93
                                                                     Fairfax Water                  x                 -95.00
         Bill Pmt -Check          12t12t201,3 3321                                                                                  -68,809.93
                                                                     Stone Shooters, lnc            X             -1 ,041 .25
         Bill Pmt -Check          12h21201i3 3320                     Manassas Topsoil              X
                                                                                                                                    -69,851   .1 8
                                                                                                                       -609.50      -70,460.68
         Bill Pmt -Check          12/12t201i3 3322                    Hanes Geo                     x                  -587.00
         Bill Pmt -Check          12t13t201i3 3325                                                                                  -71,047.68
                                                                      EYE Trucking LLC              x                  -637.50
        Check                     12t13t2018 3323                    Chantilly Turf Farm            X                 -342.00
                                                                                                                                    -71 ,685.1 8
        Check                     12t17t2011\                                                                                      -72,027.18
                                                                     BP                             X                 -325.00
        Liability Check           12t18t201t                                                                                       -72,352.18
                                                                     lnternal Revenue Se...         x             -5,094.41
        Check                     12t18t201t)                                                                                      -77,446.59
                                                                     Accident Fund                  X             -'l ,1 89.70
        Check                     12t19t2018                                                                                       -78,636.29
                                                         3324        David Sheppard                 X             -2,500.00
        Check                     12t19t201t\            3307        Santos Saucedo                 X
                                                                                                                                   -81,136.29
                                                                                                                      -600.00
        Check                     12t19t201t\            3295        Landscape Supply lnc           X                 -454.74
                                                                                                                                   -81,736.29
        Check                     12t21t2018             3326        David Sheppard                 X
                                                                                                                                   -82,1 91 .03
        Check                                                                                                         -380.00       -82,571.03
                                  12t21t201tt                        DMV
        Check                     12t21t201ti
                                                                                                    x                -288.68        -82,859.71
                                                                     DMV                            X                -138.08
        Check                     12t26t2yei             3327        Landscape Supply lnc           X                -449.44
                                                                                                                                    -82,997.79
        Check                     12t26t2018                                                                                        -83,447.23
                                                                     Cox Communicailons             X                -321.38
        Check                     12t26t2018                                                                                        -83,768.61
                                                                     Small Business Ad...           x                -232.00
        Check                    12t27   t2018           3329        David Sheppard                 X            -3,500.00
                                                                                                                                    -84,000.61
                                                                                                                                    -87,500.61
        Check                    12t27t2018                          BP
        Check                                                                                       X                -325.00        -87,825.61
                                 12t28t2018                          DLA - QMS                      X         -140,530.00         -228,355.61
        General Journal          1213112018              adjretain                                  X                -425.00      -228,780.61
                    Total Checks and paymerrts
                                                                                                              -228,780.61         -228,780.61




                                                                                                                                                     Page   1
              Case 18-11216-BFK                      Doc 74   Filed 01/25/19 Entered 01/25/19 11:51:18                   Desc Main
                                                            Document      Page 24 of 32
11:3'l AM                                                  Valley Green Landscaping
01/09/1   I                                                    Reconciliation Detail
                                                 10030 . M&T Operating, Period Ending 12131120111

                        Type               Date            Num              Name                Clr   Amount            Balance

                         Deposits and Credits - 10 items
              Deposit                  1210312018                                               X         2,000.00           2,000.00
              Deposit                  1210512018                                               X           405.00           2,405.00
              Deposit                  12106t2018                                               X           625.00           3,030.00
              Deposit                  1210812018                                               X         7,940.66          10,970.66
              Deposit                  12t10t2018                                               X         2,000.00          12,970.66
              Deposit                  1211112018        DeP        Accident Fund               X         2,578.00          15,548.66
              Deposit                  1211912018                                               X         1,691.70          17,240.36
              Deposit                  12t1912018                                               X         3,000.00          20,240.36
              Deposit                  1212012018                                               X         4,799.87          25,040.23
              Deposit                  12t26t2018                                                X      149,500.00         174,540.23

                         Total Deposits and Credits                                                     1',74,540.23       174,540.23

                    Total Cleared Transactions                                                           -ti4,240.38       -54,240.38

              Cleared Balance                                                                            -1i4,240.38        18,170.77

                    Uncleared Transactions
                      Checks and Payments - 10 items
              Liability Check          08/03/201 8                  VA Department of T,..                 -1,013,00         -1,013.00
                                                                    lnternal Revenue Se...                  -105.03             1 8.03
                                                                                                                            -1 ,1
              Liability Check          08t15t2018
              Liability Check          0912012018        To Print   VA Department of T...                   -815.00         -1,933.03
                                       o9t20t2018        3233       Laborers' District Co...                -441.63         -2,374.66
              Liability Check
              Liability Check          0912012018        To Print   Virginia Employment...                  -299.78         -2.674.44
                                       09t2412018        3234       Laborers' District Co...                -1 85.54        -2,859.98
              Liability Check
              Liability Check          0912512018        To Print   VA Department of T...                 -1,084.00         -3,943.98
              Check                    11t16t2018        3282       Landscape Supply lnc                    -660.90         -4,604.88
              Bill Pmt -Check          12t06t2018        3313       Labcorp                                   -95.50        -4,700.38
              Bill Pmt -Check          12t31t2018                   BP                                      -289.23         -4,989,61

                          Total Checks and PaYments                                                       -4,989.61          -4,989.61

                    Total Uncleared Transactions                                                          -4,989.61          -4,989.61

              Register Balance as of 1213112018                                                          -59,229.99         13,181.16

                    New Transactions
                          Checks and PaYments - 11 items
              Check                     01t02t2019       3332       Hawks Lawn Care L...                  -2,230.00          -2,230.00
              Check                     01t02t2019                  Accident Fund                         -1 ,1 89.70         -3,419.70
              Check                     01t02t2019                  EvO                                      -196.30         -3,616.00
              Bill Pmt -Check           01 /03/201 I     3334       Mickle Lawn Service                  .23,160.00         -26,776.00
              Check                     01 /03/201 I                VAlley Green Lands...                  -3,000.00        -29,776.40
              Check                     01t0312019       3335       Ford Motor Credit C..,                 -1 ,148.70       -30,924.70
              Check                     01t03t2019       3336       Caterpillar Financial ...                 -806.47       -31 ,731 .17

              Check                     01t0312019       3333       Chantilly Turf Farm                       -369.60       -32,100.77
              Check                     01104t2019                  Selective lnsurance                    -2,210.58        -34,31'1   ,-2,5

              Check                     01t04t2019       3337       Chantilly Turf Farm                       -560.40       -34,871.75
              Check                     01/08/201    I              DC Materials, lnc                      -2,396.50        -37,268.25

                          Total Checks and Payments                                                       -37,268.25        -37,268.25

                          Deposits and Credits - 2 items
               Deposit                  0110312019                                                        29,069.50          29,069.50
               Deposit                  01lOAl2O19                                                         2,000.00          31,069.50

                          Total Deposits and Credits                                                      31,069.50          31,069.50

                                                                                                           -6,1 98.75        -6,1 98.75
                        Total New Transactions

               Ending Balance                                                                             -65,428.74             6,982.41




                                                                                                                                               Page 2
      Case 18-11216-BFK       Doc 74      Filed 01/25/19 Entered 01/25/19 11:51:18                Desc Main
                                         Document     Page 25 of 32
11:31AM                                   Valley Green Landscaping
01/09/1   I                               Reconciliation Summary
                                  10030 . M&T Operating, Period Ending 12131t201g

                                                                             Dec 3't,18
                Beginning Balan,:e                                                          72,411.15
                     Cleared TraLnsactions
                        Checks and Payments - 50 items                -228,780.61
                        Deposits; and Credits - 10 items               174,540.23
                     Total Clearr>d Transactions                              -54,240.38
                Cleared Balance                                                             18,170.77
                     Uncleared -iransactions
                       Checks and Payments - 10 items                   -4,989.61

                     Total Uncleared Transactions                              -4,989.61
                Register Balance as ot 1213112018                                           13,181 .16
                     New Trans€tctions
                       Checks and Payments - 11 items                  -37,268.25
                        Deposits and Credits - 2 items                  31,069.50
                     Total New'l'ransactions                                   -6,1 98.75

                Ending Balance                                                               6,982.41




                                                                                                              Page   1
                 Case 18-11216-BFK               Doc 74      Filed 01/25/19 Entered 01/25/19Checking
                                                                                             11:51:18Account
                                                                                                       Desc Main
                                                                                                             Statement
                                                            Document     Page 26 of 32

     FOR INQUIRIES     CALL:    FALLS CHURCH                                                                         ACCOUNT TYPE
                                (703) 536-2644
                                                                                                      nnarsrnre
                                                                   00   0 01377M NM 017
                                                                                               ACCOUNT NUMBEH                       STATEMENT PERIOD
                                                                                                      .''=   18t33                   12101t18 - 12t31t18
                  ooooo143o F|DS1548DO17 12311812 11   o0oo00              P


ffi                             VALLEY GBEEN LANDSCAPING INC
                                DEBTOB IN POSSIESSION # 18-11216-BFK
                                DAVID B SHEPPARD, TBUSTEE
                                                                                            BEGINNING BALANCE
                                                                                            DEPOSITS & CREDITS
                                                                                            LESS CHECKS & DEBITS
                                                                                                                                              $14,685.90
                                                                                                                                               10,062.95
                                                                                                                                               21,352.69
                                PAYBOLL ACCOUNT                                             LESS SERVICE CHAFGES                                     0.00
                                                                                            EN.DING BALANQE                                    $3,3e6.16
                                PO BOX 1003
                                FALLS CHURGH Y'A22041




                                                                  ACCOUNT        VITY
      POSTING                                                                    DEPOSITS & OTHER            WITHDRAWALS &                   DAILY
                                    TRANSACTIOIN DESCRIPTION
       DATE                                                                         CREDITS (+l              OTHER DEBITS (-)               BALANCE
      12101t2j',t8    BEGINNING BALANCE                                                                                                       $14,68s.90
      12103t2018      CHECKNUMBER        4185                                                                          $483.57
      12to3t2018      CHECKNUMBER        4186                                                                           482.26
      1210312018      CHECKNUMBER        4188                                                                           535.46
      1210312018      CHECKNUMBER        4189                                                                           613.74
      12103t2018      CHECKNUMBER        4190                                                                           820.99
      1210312018      CHECK NUMBER 4.198                                                                               2,313.54
N
      1210312018      C-IECK NUMBER 4199                                                                               2,313.55                  7,122.79
      1210412018      CHECKNUMBER        4187                                                                            470.99                  6,651.80
      1210712018      CHECKNUMBER        4203                                                                           613.74                   6,038.06
c:    12t1012018      DEPOSIT                                                             $s,262.9s
6
      1211012018      CHECK   NUMBER    419.I                                                                           250.1   1
o
      12110t2018      CHECKNUMBER 4192                                                                                  227,50
o
c
      1211012018      CHECKNUMBER 42OO                                                                                  384.90
      1211012018      CHECKNUMBER 4202                                                                                  420.30
o
      12110t2018      CHECKNUMBER 4204                                                                                  820,98
      1211012018      CHECKNUMBER 4205                                                                                  378.43                   8,818.79
o     't2t11t2018     CHECKNUMBER 4196                                                                                    85.94
      12t11t2018      CHECKNUMBER 4197                                                                                    43.46
      12111t2018      CHECKNUMBER 4201                                                                                  394.34                   8,295.05
      1211312018      CHECKNUMBER 4194                                                                                  227.78                   8,067.27
      12t17t2018      CHECKNUMBER 4193                                                                                    91.53
      12t17t2018      CHECKNUMBER 4206                                                                                   483.57
      121't7t2l',tB   CHECKNUMBER 4207                                                                                   493.57
      12117120'.t8    CHECKNUMBER 4210                                                                                  613.74                   6,384.86
      1211812018      CHECKNUMBER 4208                                                                                  551.04
      't2t1Bt201B     CHECKNUMBER 4209                                                                                  535.46
      't2l't812018    CHECK   NUMBER     4211                                                                           820.98                   4,477.38
      1212112018      CHECKNUMBER 4212                                                                                  631 .27
      1212'U2018      CHECKNUMBER 4216                                                                                  613.75                   3,232.36
      1212412018      CHECK   NUMBER     42'13                                                                          567.92
      12124t2018      CHECKNUMBER        4215                                                                           513.94
      12124t2018      CHECKNUMBER        4217                                                                           912.68                   1,177.82
      1212612018      CHECKNUMBER        4214                                                                           699.74                     478.O8
      12t27t2018      DEPOSIT                                                              4,800.00                                              5,278.08



                                                                                                                                        PAGE 1 OF2
                                                           GTR WASHINGTON COMMERCIAL BANK
                                                       1 RESEARCH CT SUITE 4OO ROCKVILLE MD 20850
                  Case 18-11216-BFK           Doc 74    Filed 01/25/19 Entered 01/25/19 11:51:18
                                                                                     Checking     Desc Statement
                                                                                               Account Main
                                                       Document     Page 27 of 32

    FOR INQUIRIES   CALL:    FALLS CHURCH                                                             ACCOUNT TYPE
                             (703) 536-2644
                                                                                          M&ffi
                                                                                     ACCOUNT HUMBER                     STATEMENT PERIOD
                                                                                              t8133                       12101t18 - 12t31t18

ffi,lH                      VALLEY GREEN LANIDSCAPING lNC
rihdfi                      DEBTOR IN POSSESiSION # 18-11216-BFK




                                                           ACCOUNT ACTIVITY
     POSTING                                                             DEPOSITS & OTHER    WITHDRAWALS &                       DAlLY
                                 TRANSACTION DESCHIPTION
      DATE                                                                  CREDITS (+)      OTHER DEBITS {.I                   BALANCE
     1212812018    CHECKNUMBER        4218                                                               431   .1   5
     1212812018    CHECKNUMBER       4222                                                                613.73                       4,233.20
     1213112018    CHECKNUMBER        4219                                                               349.64
     1213112018    CHECKNUMBER        4221                                                               487.40                      3,396.16
                    NUMBER OF: DEPOSITSiCHECKSi PAID                                  2                        36


                     EFFECTIVE MARCH 1, 2019, WIRE OUTGOING AUTO FX NON-REPETITIVE PER ITEM WILL BE
                     CHANGED TO $26.00. IF YOU HAVE ANY QUESTIONS REGARDING THIS PRICE CHANGE, PLEASE
                     CONTACT YOUR RELATIONSHIP MANAGEFI OR THE COMMERCIAL SERVICE TEAM AT
                     1.800-7 24-2240, MONDAY-FRIDAY, 8AM.6PM ET.
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                                                   GTR WASHINGTON COMMERCIAL BANK
                                               1 RESEARCH CT SUITE 4OO ROCKVILLE MD 20850
      Case 18-11216-BFK         Doc 74    Filed 01/25/19 Entered 01/25/19 11:51:18           Desc Main
                                         Document     Page 28 of 32
12:18 PM                                  Valley Green Landscaping
01/09/19                                 Reconciliation Summary
                                      .               period Ending 1ZBltZO1g
                                 100qS M&T - Payrotl,

                                                                         Dec 31, 18
               Beginning Balance                                                       14,685.90
                    Cleared Transactions
                       Checks and Payments - 36 items              -21,352.69
                       Deposits and Credits - 2 items               10,062.95
                    Total Cleared Transactions                            -11,289.74
               Cleared Balance
                                                                                       3,396.16
                    Uncleared Transactions
                      Checks and Payments - 4 items                 -3,387,52
                    Total Uncleared Transactions                           -3,387.52
               Register Balance as ot,lZtg1l2O1B
                                                                                            8.64
                    New Transactions
                      Checks and Payments - 6 items                 -2,903.60
                      Deposits and Credits - 2 items                 7,315.00
                    Total New Transactions                                 4,411.40
               Ending Balance
                                                                                       4,420.04




                                                                                                         Page   1
          Case 18-11216-BFK                    Doc 74       Filed 01/25/19 Entered 01/25/19 11:51:18                 Desc Main
                                                           Document     Page 29 of 32
12:18 PM                                                    Valley Green Landscaping
01/09/1   I                                                      Reconciliation Detail
                                                    10035 . M&T - Payrott, period Ending 1ZB1t2O1g

                         Type                Date          Num               Name           Clr     Amount           Balance
                Beginning Balance
                     Cleared Transactions                                                                                 14,685.90
                        Checks and payments - 36 items
                Paycheck                 11t3Ol2O1B       41gO       Sheppard, Matthew D.       X
                Paycheck                 11t3Ot2O1B       4189      Sheppard, Cheryt L          X
                                                                                                          -820.99            -820.99
                                                                                                          -613.74         -1,434.73
               Paycheck                 11t30/2018        4188       Robinson, Antonio L        x         -535.46
               Paycheck                 11t30t2018        4185      Alfaro, Juan A              X         -483.57
                                                                                                                          -1 ,970.19
               Paycheck                 11t3012018                                                                        -2,453.76
                                                          4186      Freeman, Dontavein          x         -482.26         -2,936.02
               Paycheck                 11t30t2018        4187      Linares, Mauricio       X             -470.99
               Check                    11t30t2018        4191      Alfaro, Juan A          X             -250.11
                                                                                                                          -3,407.01
               Check                    11t30t2018        4194      Juggins, Ellsworth      X              -227.78
                                                                                                                            -3,657.12
               Check                    11t3012018 4192                                                                    -3,884.90
                                                                    Freeman, Dontavein      X             -227.50
               Check                    11t30t2018 4193                                                                    -4,112.40
                                                                    Hawkins, Tuscon J       X               -91.53
               Check                    11t30t2018 4196                                                                    -4,203.93
                                                                    Morton, Anthony D       x               -85.94
               Check                   11t30t2018 4197              Linares, Mauricio       X               -43.46
                                                                                                                           -4,289.87
               Paycheck                12t01t2018 4199                                                                     -4,333.33
                                                                    Sheppard, David B.      x          -2,313.55
               Paycheck                12t01t2018 4198                                                                     -6,646.88
               Paycheck                12t07t2018 4204
                                                                    Sheppard, David B.      x          -2,313.54           -8,960.42
                                                                    Sheppard, Matthew D.    X             -820.98
               Paycheck                12t07t2018 4203              Sheppard, Cheryt L      X             -613.74
                                                                                                                           -9,781.40
               Paycheck                12t07t2018 4202              Robinson, Antonio L     x             -420.30
                                                                                                                        -1 0,395.14
              Paycheck                 12/07t2018 4201              Linares, Mauricio       X             -394.34
                                                                                                                         -10,815.44
              Paycheck                 12t07t2018 4200             Alfaro, Juan A           X             -384.90
                                                                                                                         -11,209.78
              Paycheck                 12t07t2018 4205                                                                  -11,594.68
                                                                   Freeman, Dontavein       X            -378.43
              Paycheck                 12t14t2018 4217                                                                  -11,973.11
                                                                   Sheppard, Matthew D.     X            -972.68
              Paycheck                 12t14t2018 4211                                                                  -12,945.79
                                                                   Sheppard, Matthew D.     x            -820.98
              Paycheck                 12t1412018 4214                                                                  -13,766.77
                                                                   Linares, Mauricio        X            -699.74
              Paycheck                 12114t2018 4212                                                                  -'t4,466.51
                                                                   Alfaro, Juan A           X             -631.27
              Paycheck                 12t14t2018 4216             Sheppard, Cheryl L       X            -613.75
                                                                                                                        -15,097.78
              Paycheck                 12t14t2018 4210                                                                  -15,711.53
                                                                   Sheppard, Cheryl L       x            -613.74        -16,325.27
              Paycheck                 12t14t2018 4213             Freeman, Dontavein
              Paycheck                 12t14t2018 4208             Linares, Mauricio
                                                                                            X
                                                                                            x
                                                                                                         -567.92        -16,893. 1    I
                                                                                                         -551.04       -17,444.23
              Paycheck                 12t14t2018 4209             Robinson, Antonio L      X            -535.46
              Paycheck                 12t14t2018 4215             Robinson, Antonio L      X           -513.94
                                                                                                                       -17,979.69
              Paycheck                 12t14t2018 4207                                                                 -18,493.63
                                                                   Freeman, Dontavein       X           -493.57
              Paycheck                 12114t2018 4206                                                                  -18,987.20
                                                                   Alfaro, Juan A           X           -483.57
              Paycheck                 12t28t2018 4222                                                                 -19,470.77
                                                                   Sheppard, Cheryl L       x           -613.73        -20,084.50
              Paycheck                 12t28t2018 4221             Robinson, Antonio L      X           -487.40
              Paycheck                 12t28t2018 4218                                                                 -20,571.90
                                                                   Alfaro, Juan A           x            -431 .15      -21,003.05
              Paycheck                 12t28t2018 4219             Freeman, Dontavein       x           -349.64        -21,352.69
                         Total Checks and Payments
                                                                                                     -21,352.69        -21,352.69
                         Deposits and Credits - 2 items
              Deposit                  12t08t2018                                           X          5,262.95          5,262.95
              Deposit                  12t26t2018
                                                                                            X          4,800.00         10,062.95
                         Total Deposits and Credits
                                                                                                      10,062.95        10,062.95
                    Total Cleared Transactions
                                                                                                     -11,289.74        -11,289.74
              Cleared Balance
                                                                                                     -11,289.74          3,396.16
                    Uncleared Transactions
                      Checks and payments - 4 items
              Check                    11t30t2018 4195             Bradford lll, Jacob A                  -19.56
              Paycheck                 12t28t2018 4223             Sheppard, Matthew D.                 -820.99
                                                                                                                             -19.56
              Paycheck                 12t28t2018 4220             Linares, Mauricio                    -233.42
                                                                                                                           -840.55
              Paycheck                 12t31t2018 4224             Sheppard, David B.                 -2,313.55
                                                                                                                        -1 ,073.97
                                                                                                                        -3,387.52
                        Total Checks and payments
                                                                                                      -3,387.52        -3,387.52
                   Total Uncleared Transactions
                                                                                                      -3,387.52        -3,387.52
              Register Balernce as of 12t31/2019
                                                                                                     -14,677.26              8.64




                                                                                                                                          Page   1
           Case 18-11216-BFK                  Doc 74      Filed 01/25/19 Entered 01/25/19 11:51:18              Desc Main
                                                        Document      Page 30 of 32
12:18 PM                                               Valley Green Landscaping
01/09/19                                                Reconcil                Detail
                                             10035. M&T -                      Ending 1213112018

                 Type                                              Name             Clr     Amount             Balance

                New Transactions
                  Checks and Payments - 6 items
           Paycheck                 o1to4t2019 4230         Sheppard, Matthew D.                    -821.98          -821.98
           Paycheck                 01t04t2019 4229         Sheppard, Cheryl L                      -614.74        -1,436.72
           Paycheck                 01t04t2019 4227         Linares, Mauricio                       -394.34        -1,831.06
           Paycheck                 01t04t2019 4228         Robinson, Antonio L                     -384.26        -2,215.32
           Paycheck                 01t04t2019 4226         Freeman, Dontavein                      -349.64        -2,564.96
           Paycheck                 01t04t2019 4225         Alfaro, Juan A                          -338.64        -2,903.60

                      Total Checks and Payments                                                    -2,903.60       -2,903.60

                      Deposits and Credits - 2 items
           Check                    01/03/2019              VAlley Green Lands...                  3,000.00         3,000.00
           Deposit                  0110812019                                                     4,315.00         7,315.00

                      Total Deposits and Credits                                                   7,315.00         7,315.00

                Total New Transactions                                                             4,411.40         4,411.40

           Ending Balance                                                                      -10,265.86           4,420.04




                                                                                                                               Page 2
            Case 18-11216-BFK           Doc 74     Filed 01/25/19 Entered 01/25/19 11:51:18                Desc Main
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8:21 AM                                          Valley Green Landscaping
01/25/19                                          A/P Aging Summary
                                                    As of December 31, 2018

                                                  Current      1 - 30      31 - 60     61 - 90      > 90        TOTAL
             ACF Enviromental                           0.00        0.00        0.00        0.00        0.00         0.00
             Alban Tractor Co. Inc                      0.00        0.00        0.00        0.00    1,374.11     1,374.11
             American Native Plants                     0.00        0.00        0.00        0.00        0.00         0.00
             AP Law Group                           4,536.02        0.00        0.00        0.00        0.00     4,536.02
             BP                                         0.00        0.00        0.00        0.00     -100.00      -100.00
             Cat Financial Commercial                   0.00        0.00        0.00        0.00    1,930.32     1,930.32
             Caterpillar Financial Services             0.00        0.00        0.00        0.00      846.79       846.79
             Central Sod Farms, Inc.                    0.00        0.00        0.00        0.00     -130.00      -130.00
             Cox Communications                         0.00        0.00        0.00        0.00      289.58       289.58
             Deakins Pond Wholesale                     0.00    1,502.55        0.00        0.00        0.00     1,502.55
             Dorthea Sheppard                           0.00        0.00        0.00        0.00    3,560.00     3,560.00
             Dulles Insurance Svs, Inc                  0.00        0.00        0.00        0.00      167.89       167.89
             Erie Insurance Group                       0.00        0.00        0.00        0.00        0.00         0.00
             Exxon/GECC                                 0.00        0.00        0.00        0.00      140.00       140.00
             Fairfax Water                              0.00        0.00        0.00        0.00       25.00        25.00
             GreenSource Direct, Inc                  159.80        0.00   11,150.50        0.00        0.00    11,310.30
             Hamma Down Enterprises, Inc                0.00        0.00        0.00        0.00    3,339.39     3,339.39
             Hawks Lawn Care LLC                        0.00        0.00        0.00        0.00    1,050.00     1,050.00
             Labcorp                                    0.00        0.00        0.00       47.75        0.00        47.75
             Landscape Supply Inc                       0.00        0.00        0.00        0.00      335.88       335.88
             Manassas Topsoil                       1,828.50   15,237.50        0.00        0.00        0.00    17,066.00
             Martin & Gass, Inc R                       0.00        0.00        0.00        0.00    3,400.00     3,400.00
             Matrix Managment Consulting, LLC           0.00    1,200.00        0.00        0.00    9,000.00    10,200.00
             Mickle Lawn Service                        0.00    5,990.00   17,170.00        0.00        0.00    23,160.00
             Military Publication                       0.00        0.00        0.00        0.00      695.00       695.00
             Office Depot Credit                        0.00        0.00        0.00        0.00       25.00        25.00
             PNC Bank                                   0.00        0.00        0.00        0.00      828.64       828.64
             QMS                                   10,520.00        0.00        0.00        0.00        0.00    10,520.00
             Quail Ridge Products                       0.00        0.00        0.00        0.00        0.00         0.00
             Quill                                      0.00        0.00        0.00        0.00        0.00         0.00
             Remington Mulch - South                    0.00        0.00        0.00     -143.10        0.00      -143.10
             Service Authority                          0.00        0.00       34.75        0.00        0.00        34.75
             Shell                                      0.00        0.00        0.00        0.00        0.00         0.00
             Signature Horticultural Services           0.00        0.00        0.00        0.00    2,339.60     2,339.60
             Sprint                                     0.00        0.00        0.00        0.00        0.00         0.00
             State Farm                                 0.00        0.00        0.00        0.00      162.00       162.00
             Sunbelt                                    0.00        0.00        0.00   10,233.91        0.00    10,233.91
             United Concordia Dental                    0.00        0.00        0.00        0.00      356.98       356.98
             United Health Care                         0.00        0.00        0.00        0.00    5,290.82     5,290.82
             Wells Fargo Card Services                  0.00        0.00        0.00        0.00      525.00       525.00

           TOTAL                                   17,044.32   23,930.05   28,355.25   10,138.56   35,452.00   114,920.18




                                                                                                                            Page 1
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8:23 AM                                           Valley Green Landscaping
01/25/19                                           A/R Aging Summary
                                                    As of December 31, 2018

                                                     Current    1 - 30     31 - 60     61 - 90     > 90        TOTAL
               Archer Western                            0.00       0.00        0.00     185.00    3,501.53     3,686.53

               Asha Bhatia-Kumar                         0.00       0.00        0.00        0.00       0.00         0.00
               David Moore                               0.00       0.00        0.00        0.00       0.00         0.00
               DOMINION PRODUCTS & SERVICES              0.00       0.00        0.00        0.00       0.00         0.00

               Edgington Court HOA                       0.00       0.00        0.00        0.00       0.00         0.00

               F&L Construction                          0.00       0.00        0.00        0.00       0.00         0.00

               Flippo                                    0.00       0.00        0.00        0.00      0.00         0.00
               Ft Belvoir DAU                            0.00       0.00        0.00        0.00      1.00         1.00
               General Excavation, Inc                   0.00       0.00        0.00        0.00      0.00         0.00
               Hensel Phelps                             0.00       0.00        0.51        0.00      0.00         0.51
               HOMESERVE                                 0.00       0.00        0.00        0.00     59.00        59.00

               Joyce Marshall                            0.00       0.00       0.00        0.00     -150.00      -150.00
               Judlau Contrating, Inc                    0.00       0.00       0.00        0.00        0.07         0.07
               Lane CC I66                               0.00       0.00       0.00        0.00        7.70         7.70
               Lane Construction Corp                7,550.40       0.00     714.00      230.86        0.00     8,495.26

               Lane Construction Corporation             0.00       0.00        0.00        0.00       0.00         0.00

               NVCC                                      0.00       0.00        0.00        0.00       0.00         0.00
               RSG                                       0.00       0.00    9,100.00        0.00   2,165.40    11,265.40
               Shawn Hawkins -R                          0.00       0.00        0.00        0.00   3,400.00     3,400.00
               SHIRLEY CONTRACTING CORP                  0.00       0.00        0.00        0.00       0.00         0.00

               Shirley Contracting Linton Hall           0.00       0.00        0.00        0.00       0.00         0.00
               Skanska USA Civil Southeast               0.00   4,315.00        0.00        0.00       0.00     4,315.00

               Tyrone Pitts                              0.00       0.00        0.00        0.00       0.00         0.00

               Virginia Dept of Transportatio            0.00       0.00        0.00        0.00       0.00         0.00

               WINKAL Management, L.L.C.                 0.00       0.00        0.00        0.00       0.00         0.00

               WMATA                                     0.00       0.00   12,831.00   15,801.50       0.00    28,632.50

               WSSC- 4513                                0.00       0.00        0.00        0.00       0.00         0.00

               WSSC Request for Pay 2003                 0.00       0.00        0.00        0.00      0.00          0.00

             TOTAL                                   7,550.40   4,315.00   22,645.51   16,217.36   8,984.70    59,712.97




                                                                                                                           Page 1
